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   1                         UNITED STATES DISTRICT COURT
   2                        CENTRAL DISTRICT OF CALIFORNIA
                                   EASTERN DIVISION
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   4
        Cynthia A. Becker-Gutierrez,        )      Case No.: 5:20-cv-02234-VBF-ADS
   5
                                            )
   6               Plaintiff.               )      ORDER AWARDING EAJA
   7                                        )      FEES
                   vs.                      )
   8
                                            )
   9    Andrew Saul,                        )
  10    Commissioner of Social Security,    )
  11
                   Defendant.
  12
  13
  14          Based upon the parties’ Stipulation for Award of EAJA Fees Pursuant to the
  15    Equal Access to Justice Act 28 U.S.C. §2412(d) (“Stipulation”),
  16
              IT IS ORDERED that EAJA fees are awarded in the amount of
  17
  18    $8400.00, plus $400.00 in costs, subject to the terms of the Stipulation. IT IS
  19
        ORDERED that EAJA fees are awarded to Plaintiff in the amount of $8400.00,
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  21    subject to any federal debt owed by the Plaintiff. If the Department of the
  22    Treasury determines that Plaintiff does not owe a federal debt, the government
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        shall cause the payment of fees be made directly to Eddy Pierre Pierre and/or
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   1    Pierre Pierre Law, P.C., pursuant to the Assignment executed by Plaintiff.
   2
        $Q\ SD\PHQWV PDGH VKDOO EH delivered to Plaintiff's counsel.
   3
   4
   5    Dated: May 24, 2022                       /s/ Autumn D. Spaeth
                                               ______________________________
   6                                           Honorable Autumn D. Spaeth
   7                                           United States Magistrate Judge
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